                            Case 6:23-cv-00575 Document 5 Filed 08/07/23 Page 1 of 1
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                      Western District of Texas                               on the following
      G Trademarks or         ✔ Patents.
                              G             ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
  6:23-cv-575                               8/7/2023                                       Western District of Texas
PLAINTIFF                                                                 DEFENDANT


 Patent Armory Inc.                                                         Google LLC


        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 10,237,420                               3/19/2019                Patent Armory Inc.

2 10,491,748                               11/26/2019               Patent Armory Inc.

3 7,023,979                                 4/4/2006                Patent Armory Inc.

4 7,269,253                                9/11/2007                Patent Armory Inc.

5 8,831,205                                 9/9/2014                Patent Armory Inc.
6 9,456,086                              9/27/2016                   Patent Armory, Inc.
                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                            DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
